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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     TOMMY LY
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. CR. S-07-0059 LKK
                                     )
12                  Plaintiff,       )
                                     ) ORDER AFTER STATUS CONFERENCE
13        v.                         )
                                     )
14   VAN HUNG VI et alia,            )
                                     ) Judge: Hon. Lawrence K. Karlton
15                  Defendants.      )
     _______________________________ )
16
17          This order memorializes the status conference held August 7, 2007.
18   All parties requested that another status conference be scheduled for
19   October 30, 2007, to afford counsel adequate time to complete their
20   review    of   discovery   and   to   assure   continuity   of   defense   counsel,
21   including newly-retained counsel for defendant Ivy Tran.            At the request
22   of all counsel, the Court ordered time under the Speedy Trial Act
23   excluded through October 30, 2007, for necessary preparation (Local Code
24   T4).
25            IT IS SO ORDERED.
26
27   Dated:    August 8, 2007
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